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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 LEXINGTON INSURANCE COMPANY,               )
                                            )
 Plaintiff,                                 )
                                            )
 vs.                                        )
                                            ) Case No. 3:20-CV-00330-DJH-LLK
 THE AMBASSADOR GROUP LLC d/b/a             )
 AMBASSADOR CAPTIVE SOLUTIONS;              ) Judge David J. Hale
 GAGLIARDI INSURANCE SERVICES, INC.;        )
 GOLDENSTAR SPECIALTY INSURANCE,            ) Magistrate Judge Lanny King
 LLC; PERFORMANCE INSURANCE                 )
 COMPANY SPC on behalf of GOLDENSTAR        )
 HOLDINGS COMPANY SP and on behalf of       )
 SMART INSURE SP; and BRANDON WHITE,        )
                                            )
 Defendants.                                )
                                            )
                                            )
                                            )
                                            )
 STATE NATIONAL INSURANCE                   )
 COMPANY, INC. and NATIONAL                 )
 SPECIALTY INSURANCE COMPANY,               )
                                            )
 Plaintiff-Intervenors,                     )
                                            )
 vs.                                        )
                                            )
 THE AMBASSADOR GROUP LLC d/b/a             )
 AMBASSADOR CAPTIVE SOLUTIONS;              )
 BRANDON WHITE; PERFORMANCE                 )
 INSURANCE COMPANY SPC; EPREMIUM            )
 INSURANCE AGENCY, LLC; and                 )
 GAGLIARDI INSURANCE SERVICES, INC.,        )
                                            )
 Defendants in Intervention.                )


                   CONSENT ORDER TO MAINTAIN THE STATUS QUO
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        Plaintiff-Intervenors State National Insurance Company, Inc. and National Specialty

 Insurance Company (collectively “State National”) and Defendants in Intervention The

 Ambassador Group LLC d/b/a Ambassador Captive Solutions (“Ambassador”), Brandon White

 (“White”), Performance Insurance Company SPC (“Performance”), ePremium Insurance Agency,

 LLC (“ePremium”) and Gagliardi Insurance Services, Inc. (“Gagliardi”) (collectively, the

 “Defendants”) jointly request entry of this Consent Order, which is intended to maintain the status

 quo and protect the parties’ respective interests for the duration of this case.

        WHEREAS, State National has intervened in this action and has filed an Amended

 Complaint in Intervention against Defendants (ECF No. 47) seeking relief in connection with the

 following seven alleged fraudulent schemes, and as described and defined in the Amended

 Complaint in Intervention:

            a. The alleged counterfeit policies issued to Madera Residential, LLC (“Madera”)

                purporting to provide homeowners and personal liability insurance to residents in

                real estate developments across Texas (the “Madera Program”);

            b. The alleged counterfeit policies issued through Gagliardi purporting to provide

                accident and health and general liability, as applicable, insurance primarily to youth

                sports teams, leagues and athletes throughout the United States (the “Gagliardi

                Program”);

            c. The alleged counterfeit policies issued to Royal Waste Services, Inc. (“Royal

                Waste”) purporting to provide automobile, workers compensation and general

                liability fleet insurance for commercial waste removal operations in New York (the

                “Royal Waste Program”);

            d. The alleged counterfeit policies issued to Triangle Grading and Paving (“Triangle”)

                purporting to provide automobile, general liability and workers compensation



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               insurance for construction operations in the North Carolina area (the “Triangle

               Program”);

            e. The alleged counterfeit policies issued to Iron Woman Construction and

               Environmental Services, LLC (“Iron Woman”) purporting to provide automobile,

               general liability and workers compensation insurance for construction operations

               in the Colorado and Nevada areas (the “Iron Woman Program”);

            f. The alleged counterfeit policies issued to Omega Family Services (“Omega”)

               purporting to provide medical coverage to family surrogacy services clients in the

               California area (the “Omega Program”); and

            g. The alleged counterfeit policies issued through ePremium purporting to provide

               renters and property insurance coverage to ePremium and Sandhills Insurance

               Group, LLC d/b/a InsureStays clients who are tenants and property managers

               throughout the United States (the “ePremium Program”).

       WHEREAS, in connection with the seven alleged fraudulent schemes, State National seeks

 injunctive relief on its claims for:   (1) trademark infringement, unfair competition and false

 designation of origin under the Lanham Act, 15 U.S.C. §§ 1125(a), 1116 and 1117; (2) indirect,

 contributory, and vicarious infringement under the Lanham Act, 15 U.S.C. §§ 1114, 1116 and 1117;

 (3) misappropriation of name under Kentucky common law; (4) deceptive trade practices and

 unfair competition under Kentucky, New York and Texas common law; and (5) insurance fraud

 under KRS §§ 304.47-020(1)(d), (1)(g) and (6);

       WHEREAS, Defendants represent and warrant that they are not currently issuing any

 policies or certificates in State National’s name connected in any way to the alleged Madera

 Program, Gagliardi Program, Royal Waste Program, Triangle Program, Iron Woman Program,

 Omega Program and ePremium Program;



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       WHEREAS, Defendants represent and warrant that there are no known claims currently

 pending against State National, and there is no known basis for any claims to be made against State

 National, in connection with the alleged Madera Program, Gagliardi Program, Royal Waste

 Program, Triangle Program, Iron Woman Program, Omega Program and ePremium Program;

       WHEREAS, without admitting any liability or any of the allegations set forth by State

 National, Defendants represent and warrant that, with the exception of the Madera Program,

 Gagliardi Program, Royal Waste Program, Triangle Program, Iron Woman Program, Omega

 Program and ePremium Program, they are not involved, and have not been involved, in any other

 insurance programs involving the use or sale of policies or certificates of insurance bearing the

 State National name;

       WHEREAS, State National represents and warrants that it never agreed to provide its

 authorization to any of the Defendants to issue any policies or certificates in State National’s name

 connected in any way to the alleged Madera Program, Gagliardi Program, Royal Waste Program,

 Triangle Program, Iron Woman Program, Omega Program and ePremium Program; and

       WHEREAS, State National and Defendants have agreed to the entry of this Consent Order

 based on the representations and warranties set forth herein, and without waiving any rights and

 expressly preserving all claims and defenses;

        IT IS HEREBY ORDERED, ON CONSENT OF THE PARTIES:

        1.      By entering into this Consent Order, State National is not limiting its claims and

 Defendants are not admitting liability or waiving any defenses or any other rights they have.

 Rather, this Consent Order is being entered into to avoid unnecessary judicial proceedings,

 preserve resources, maintain the status quo, and protect the parties’ rights pending further

 proceedings in this Court.



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        2.      Defendants, their agents, employees, officers, attorneys, successors, assigns and all

 persons in active concert or participation with any of them shall not represent to anyone that State

 National issued any insurance policies or insurance certificates, or is responsible for any loss, with

 respect to the Madera Program, Gagliardi Program, Royal Waste Program, Triangle Program, Iron

 Woman Program, Omega Program and ePremium Program.

        3.      Defendants, their agents, employees, officers, attorneys, successors, assigns and all

 persons in active concert or participation with any of them shall not issue any additional insurance

 policies or certificates bearing the State National name.

        4.      Defendants, their agents, employees, officers, attorneys, successors, assigns and all

 persons in active concert or participation with any of them shall not use in any manner State

 National’s name in offering for sale, selling, distributing or advertising any and all goods or

 services, including, but not limited to, all insurance products, insurance policies, certificates of

 insurance, insurance forms or any other documents purporting to evidence insurance.

        5.      Defendants, their agents, employees, officers, attorneys, successors, assigns and all

 persons in active concert or participation with any of them shall not transfer, diminish or dissipate

 monies received from the sale of any insurance policies or certificates bearing the State National

 name and received in connection with the Madera Program, Gagliardi Program, Royal Waste

 Program, Triangle Program, Iron Woman Program and Omega Program other than to adjust, pay

 or settle claims made by policyholders and certificate holders in the normal course.

        6.      On or before October 23, 2020, Defendant ePremium shall either (a) secure

 replacement insurance coverage for any insurance policies bearing State National’s name in

 connection with the ePremium Program, such that another insurance carrier agrees to assume

 responsibility for any and all losses purportedly covered by State National at any point in time; or



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 (b) provide notice (1) by U.S. mail at their last known address, or (2) if no known address is

 available, via electronic mail, to each policyholder who was issued an insurance policy bearing

 State National’s name and to each certificate holder who was issued a certificate of insurance

 bearing State National’s name in connection with the ePremium Program, that the insurance

 policies and certificates bearing State National’s name are not effective and there is no coverage

 from State National under the policies and certificates.

        7.       On or before October 23, 2020, Defendant Gagliardi shall either (a) secure

 replacement insurance coverage for any insurance policies bearing State National’s name in

 connection with the Gagliardi Program, such that another insurance carrier agrees to assume

 responsibility for any and all losses purportedly covered by State National at any point in time; or

 (b) provide notice (1) by U.S. mail at their last known address, or (2) if no known address is

 available, via electronic mail, to each policyholder who was issued an insurance policy bearing

 State National’s name and to each certificate holder who was issued a certificate of insurance

 bearing State National’s name in connection with the Gagliardi Program, that the insurance

 policies and certificates bearing State National’s name are not effective and there is no coverage

 from State National under the policies and certificates.

        8.       This Consent Order shall remain in effect for the duration of this case.



         October 13, 2020
                                                      JUDGE DAVID J. HALE



                                                               David J. Hale, Judge
                                                            United States District Court




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  CONSENTED TO BY:

   Counsel for Plaintiffs-Intervenors State       Counsel for Defendants in Intervention The
   National Insurance Company, Inc. and           Ambassador Group LLC d/b/a Ambassador
   National Specialty Insurance Company           Captive Solutions and Brandon White

   /s/ Peter J. Rosene                            /s/ Elisabeth S. Gray

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   /s/ Elisabeth S. Gray                          /s/ Ellen Arvin Kennedy

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